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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

SHAWN BAKER

     Plaintiff,
v                                                              Case No. 1:24-cv-00422
                                                               Hon: Paul L. Maloney
COSTCO WHOLESALE CORPORATION, a
foreign profit corporation.

  Defendant.
____________________________________________________________________________/

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____________________________________________________________________________/
                     STIPULATED ORDER FOR DISMISSAL
                   At a session of United States District Court for the
                   Western District of Michigan Southern Division, this
                  ______ day of                      _________, 2025.

          PRESENT: HONORABLE PAUL L. MALONEY

          This matter having come before the Court upon the stipulation of the parties, through their

respective counsel, and the Court being otherwise fully advised in the premises:


          IT IS HEREBY ORDERED that the captioned cause is dismissed without costs, interest or

attorney fees and with prejudice to the Parties’ rights ever again to maintain an action for or on account

of any matter or thing set forth or referred to in this cause against the named Defendant.
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THIS ORDER RESOLVES ALL PENDING CLAIMS AND CLOSES THIS CASE.




                                               Paul L. Maloney
                                               United States District Judge



Approved as to form, content, and for entry:

/s/ Alexander L. Waldman (w/permission)
__________________________________
Alexander L. Waldman (P80946)
Attorney for Plaintiff

/s/ William M. Woolsey
___________________________________
William M. Woolsey, P72983
Attorney for Defendant
